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United States District Court 05
for JUL 12 PH 5: al

Western District of Tennessee

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U-S-A- vS- JOSePh Jordan Docket No.z;os-zoosim) ;~.:‘7;\¥._ _;}_WC+§W

Petition for Action on Conditions of Pretrial Release

COMES NOW PRETRLAL SERVICES OFPICER Valerie D. Pugh presenting an official report upon the conduct
of defendant who was placed under pretrial release supervision by the Honorable Bemice B. Donald sitting in the
court at Memphis, TN, on the 3rd day of June, 2005 under the following conditions:

1) Report to Pretrial Services Oftice.

2) Execute a bond in the amount of $ 1,000 w/ 10% to be deposited with the Clerk of Court.

3) Maintain or actively seek employmentl

4) Seek mental health treatment if deemed appropriate by Pretrial Services.

5) Re&ain from possessing a firearm, destructive device, or other dangerous weapons.

6) Refrain from use or unlawful possessing of a narcotic drug or other controlled substance, unless prescribed by
a licensed medical practitioner.

7) Submit to any method of testing required by Pretrial Services Oflice for determining whether defendant is
using a prohibited substance.

8) Participate in a program of inpatient or outpatient substance abuse therapy and counseling deemed advisable by
Pretrial Services.

9) Participate in the home confinement program which will include electronic monitoring

RESPECTFULLY PRESENTING PETlTlON FOR ACTION OF COURT AND FOR CAUSE AS FOLLOWS:
(If short insert here: if lengthy Write on separate sheet and attach)

SEE ATTACHMENT

PRAYING 'I`HAT TI-IE COURT WILL ORDER the issuance of a warrant that Joseph Jordan may appear and
show cause as to why his bond should not be revoked.

BOND RECOMMENDATION:

ORDER OF COURT l declare under penalty of perjury that the
foregoing is true and correct.‘

   

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.S. Preu'ial Services Ofticer

Place Memphis, TN

 

    

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PS 8 - Page 2
Jordan, Joseph

The defendant has violated the following conditions of Pretrial release:
l) The defendant shall report to Pretrial Services Office as directed.

Defendant Jordan was instructed to report to Pretrial Services in person on the lst Thursday of
each month and on court dates. He failed to report on Thursday, July 7, 2005,

2) Partici ate in home confinement w/ electronic monitorin and be restricted to his residence

during the times to be determined by Pretrial Services Officer.

Defendant Jordan has violated his home conlinement on numerous occasions, since he was
placed on electronic monitoring 6/7/05. His curfew was 6:30 p.m. - 8:30 a.m., Monday - Friday‘,
and 6:30 p.m. - 9:30 a.m., Saturday and Sunday.

On Friday, June 10, 2005, the defendant left his residence during curfew at 10:08 p.m.; returned
l 1:24 p.m.

On Saturday, June 11, 2005, Defenda.nt Jordan was in and out of his residence during curfew
from 7:06 p.m. to Sunday, June 12, 2005, 2:30 a.m.

On Monday, June 13, 205, the defendant was not present at curfew. He entered his residence at
8:59 p.m. Leit at ll:45 p.m. and returned on Tuesday, June 14, 2005 at 1:32 a.m.

Defendant Jordan was also in and out of his residence without approval of Pretn`al Services
during curfew hours from June 18, 2005 - June 20, 2005; June 22 - June 25, 2005; June 27 - June
28, 2005.

There were also violations July 2 and 3, 2005.
Finally, on Wednesday, July 6, 2005, Defendant Jordan was in and out of his residence during

curfew from 9:03 p.m. to 9:19 p.m.; 9:21 p.m. to 10:00 p.m. He led again at 10:26 p.m. (July 6,
2005) and did not return until Friday, July 8, 2005, at 12:48 a.m.

UNITED sATE DISTRICT COURT - W"RTE DISTRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:05-CR-20051 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listedl

 

 

April Rose Goode

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Honorable Bernice Donald
US DISTRICT COURT

